Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 1 of 19 PagelD: 1085

IN THE UNITED STATES DISTRICT COURT aD CEIVED

FOR THE THIRD CIRCUIT

C. Tate George, AUG 29 2018
Petitioner

See

, : Chambers of
Civil Action No. 17-26e4. E, Thompson, U.S.D.4

v |
Crim. Action No. 3:12-CR-204-01-(AET)
United States of America,
Respondent

PETITIONER'S MOTION UNDER RULE 1:
"SCOPE AND PURPOSE"; TO COMPEL THE COURT
. TO PROCEED WITH PETITIONER'S 2255 FILING
DUE TO COMPELLING AND EXTRAORDINARY CIRCUMSTANCES ;
IN LIGHT OF RECENT SUPREME COURT
THAT AFFECT PETITIONER'S CASE AT BAR;
AND THE GOVT'S DECISION NOT TO ANSWER
THE COURT'S SO-CAUSE ORDER;
THUS CONCEDING TO ONE OF
THE GROUNDS WITHIN PETITIONER'S 2255 FILING

 

NOW BEFORE the Court, Petitioner C. Tate George's pro se Motion to Compel
the Court to proceed (expedite) a Ruling on his case for Relief in his pending
Habeas Corpus §2255 Petition before the Court. This Motion is filed due to
the Govt's concession to not address the Court's final so-catise Order pertaining
to "relative conduct concerning enhancements illegally applied at Petitioner's
Sentence"; and thus recent Supreme Court rulings in favor of Petitioner qualifies
Petitioner for immediate release from custody; in support thereof Petitioner
states the following:

I. BRIEF HISTORY —

Petitioner filed his Habeas Corpus §2255 filing in mid-2017! After more
than 2-years of delays purposefully caused by the Govt., the Court concluded
its final ruling on or around May 29th, 2019 (See Docket #63); once the Govt.
declined to answer the Court's Show Cause Order. (See copy of letter, Attachment
#1 filed with the Court on or around May 16th, 2019).

As stated, there have been multiple so-cause orders ignored purposfully
by the Govt. in an attempt to avoid addressing Petitioner's merited claims

such as:
Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 2 of 19 PagelD: 1086

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On August 28, 2017 - Court set a scheduling date for 60 days for the
Government to respond. The Government missed the deadline by almost
30 days, and the Court issued an Order to Show Cause.

On November 27, 2017 - the Court per the Government pleas, vacated
the Order and issues another Order with a January 21, 2018 Response
deadline for the Government (even after giving no legitimate reason
why they missed the Response Date ordered).

On March 8, 2018 - The Court issued yet another Order allowing until
April 30, 2018 and so further ordered “that no further extension of
time will be permitted." This Order was not adhered to because on
April 30, 2018, the Court signed an Order on the very Government request
letter/document provided to the Court at the 11th hour of the deadline
date for the Government to respond (Exhibit attached). The excuse

given in this letter has been repeated on at least two (2) different
occassions to grant almost a total of six (6) months (and counting)

to reply to Petitioner's §2255 filing. (See Attachment F)

On August 1, 2018, the Government once again failed to meet the Court-
ordered deadline to respond of July 31, 2018 (and so on).

As of this filing, 90 (plus) days have elapsed since the Court's final

ruling to close out the Answer and Reply process under the Fed.R.
and Procd.Rule 5,

II. PRELIMINARY STATEMENT

 

Fed.R. of Procd. states that under Rule 1: "Scope and Purpose", clearly

states the following;

The Rules govern the Procedure in all civil actions and proceedings in
the United States District Court, except as stated in Rule 81. They should
be constructed, administered and employed by the Court and the parties
to "secure the just, pee (arg inexpensive determination of every action

and proceeding." (History:

As

2-years

Amended April 29, 2015)(eff. Date Dec 1, 2015).

per this filing, Petitioner's Habeas Corpus §2255 filing has exceeded
since his 2255 filings (including several amendments); of great importance

are unrefuted material facts before the Court concerning false claims proffered
by the Govt. at Petitioner's sentencing, that the Supreme Court as well as

Lower Courts have now determined since 2016, to be illegal and unconstitutional

pertaining to sentencing individuals regarding so-called relative conduct

to be considered by Courts against a defendant; post facto of a trial.

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eliminates Relative Conduct enhancements to a defendant, such as:

- Molina-Martinez v. U.S., 136 S.Ct. 1338, 1344 April 20, 2016;

 

- Rosales-Mireles v. U.S., 138 S.Ct. No. 1897 (2018);

 

(ALSO LOWER COURT DECISION: )
- Jones v. U.S., 647 F.3d 706; 2011 US App LEXIS 7541; 2011 Fed. App.0088P;

 

- Antonucci v. U.S., 667 Fed Appx. 121, 2016; US App. LEXIS 11396

- Haskell v. Superintendent Greene SCI, 2017, BL 266640, No. 15-34; 27 (3rd
: Cir. 2017)

(Deals with proffered perjury that led to an enhanced illegal sentence already
filed with the Court back in 2017 -- See Attachment B)

 

~ Harris v. U.S., No. 17-3341 (3rd Cir. 2018)

All these cases (just to name a few) directly affect Petitioner's case
at bar, when these Court's findings, that Relative Conduct concerning loss
amount determination is unconstitutional post facto of trial (or a plea),
when a court decides to enhance a defendant outside the guidance and finding
by a jury.

In addition; recently the Govt's decision not to appropriately address
such claims and rulings cited within Petitioner's filings; legally means,
as a matter of Law; that the Govt. concedes to any and all claims made by
Petitioner, (that not only the Jury of his trial) that the Govt. did not
make a finding of a loss amount beyond ($510,000) at trial; the Jury also
never decided on so-called victims' hardship claims never proffered at trial;
nor proven under the Fed. R.of Procd.

In fact; in the Govt's concession letter to the Court; they purposely
avoid to mention that they never appropriately established sentencing guidelines
for loss and restitution where pursuant to 18 USC §3664 it states the following:

ESTABLISHING SENTENCING GUIDELINES FOR LOSS AND RESTITUTION
Pursuant to 18 USC §3664, the probation officer shall conduct an investigation

 

into loss for restitution purposes. In addition, the Probation Officer (not

the Government) shall prepare a complete accounting of each of the victims

losses to assist in the preparation of the accounting, the Probation Officer

is required to provide notice to each of the victims and afford them an opportunity
to submit affidavits detailing their losses. 18 USC §3664(d)(2), and subparagraph
(Iv). 3
Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 4 of 19 PagelD: 1088

. this sadly did not occin, thus creating an illegal sentence against

the Petitioner of (108) months; when all the Court was legally allowed to
sentence Petitioner to would be (57) months (on the high end) of the. appropriate
guideline range.

As an example and to remind the Court of why the Govt's claims are false
when they state in their decline-letter to address the "relative conduct
and so-called victims loss" tally amount never proven post-facto of the trial;
the Govt. lies when they state "Petitioner previously argued relative conduct
in and on his direct appeal. (Paraphrasing here--again see Attachment A for
full context of the Notice/Letter to the Court on file}.

What's more; there is unrefutable evidence contradicting the false narrative
offered up by the Govt., in which cannot be substantiated by facts already
on the record; and thus Petitioner's Motion for immediate relief is appropriate
and has merit, such as:

1) As part of Petitioner's original §2255 filing, listed as (Appendix
#15; also presented to the Court prior to sentencing under (DSX - #50 -
CR-12-204 (MLC); the actual request for "Advance Authorization for Investigative,
Expert or Other Services" form. This form was created and signed off on by
former presiding Judge Cooper and Chief Judge, United States Court of Appeals,
approving funds that would go towards the completion of the forensic report;
that was not used at sentencing for Petitioner. Period! (See Attachment C).

If the Court would kindly review the section under, "Reasons for Application".

 

The Court would see the following;

"Mr. George, acting pro se in this matter seeks

a forensic accounting certified on trial witnesses
(only) to verify any money loss for proper sentencing
by the Judge."

In sum; the Govt's false claims Petitioner previously argues Relative
Conduct of Loss victims by way of the forensic report on direct appeal, is
completely wrong! This decument (the forensic report) is solely reflective
of those that went to trial to the tune of $510,000, and no one else. Thus,
Petitioner could not have argued previous claims of loss to others not a
part of the trial under the unconstitutional rules of unproven (outside of
a Jury ruling-verdict) so-called relative conduct only proffered post-trial,
by the Govt'. using the method of perponderance of perjured evidence and
not accurate evidence available to the Court at the time of sentencing. Simply

put, this statement is a flat-out lie and is not supported by the record.

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2) Next; such evidence also provided ‘to the Court’ pre-sentencing Liké&
Attachment D; Letter (one of two) written to the Court by business partner
Kenneth Chucky Atkins, clearly stating he is not owed a sum of $364,000.

(Note: This document is Attachment #6 of Petitioner's original §2255 filing).
The Court refused to use this evidence as a deduction to any loss calculation
per the Fed.R.of Procd. (Note: Mr. Atkins called and wrote the Court requesting
to testify to this fact, but the Court rebuffed him and many others at the

time of sentencing).

3) Finally, a letter sent by another business partner (the Trachtenberg’ s)
confirming total support of Petitioner stating in part;

"Tate had full rights to use the money (we invested of $620,000 USD)

as he wanted for projects, personal overhead and for his company use

as he saw fit." (See Attachment E of the full contexty of the certified
letter).

Again, the Court refused to use this evidence at the time of sentencing.
Such small sample of evidence already filed with the Court proves beyond
a doubt, that the Govt.s avoidance to not have the probation office follow
the rules under statute 3664; is consistent with the hardcore evidence, that
they had actually asked individuals about relative conduct loss; the Govt.
had foreknowledge that they - nor the Probation Office would have never been
able to gather supportive evidence, that would suggest that any form of claims
of loss post-facto of a trial existed. Period! .

It's safe to say, this is the reason the Govt. has spent two (2) years
doing everything within their power to delay and/or destract the Court from
properly addressing this illegal enhancements that now cannot stand based
on laws (cases) handed down that are now considered inappropriate at best;
or unconstitutional at worst.

iV. ARGUMENT
Petitioner's §2255 deals with both his convictions as well as; illegal
enhancement applied by this Court post-facto of trial.
Petitioner files this "Rule 1 Motion" ; due to extreme (compelling)
and extraordinary reasons, such as the fact that Petitioner is now coming
up on*more than one (1) year anniversary past the correct guideline range

 

applied at his sentence; based on both recent Supreme Court rulings; along
with at least two (2) Lower Court (3rd) District Court rulings cited already

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Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 6 of 19 PagelD: 1090

-in this Motion. (See the Preliminary Section:for cases)< °

Petitioner in addition to filing his Habeas Corpus §2255 appLication/
memorandum brief and reply brief (also amendments); he has also filed a motion
for an immediate hearing (evidentiary) under Rule 8.1, that has not been decided
on by the Court at the time of this Motion being filed.

Petitioner's case (at least concerning the illegal enhancements) is not
at all complicated, and such recent higher and lower Court rulings has made
it even easier/clearer, that Petitioner's sentence is an illegal sentence
and must be corrected thus granting Petitioner's immediate release from custody.

The decision in Molina-Martinez is directly applicable to this case:
the illegal sentence includes illegal sentence enhancements involving not
only a miscaleulation of victim losses, but also the court's "plain" errors
included the application of a four-level enhancement for victim hardship without
proof of same by the government. Therefore, this four-level enhancement must
be also deducted from the determination of the proper Guidelines Range for
the purposes of sentencing.

V. CONCLUSION
Petitioner challenges both his conviction and the District Court's determination
of loss and the substantive reasonableness of his sentence. Courts are widely.
in agreement that the "District Court's ‘factual findings' for clear error,
and its interpretation and applications of the guidelines de novo." U.S. v.
Williams, 627 F.3d 324, 327 (8th Cir. 2010)(quoting) U.S. v. Byas, 581 F.3d
723, 725 (8th Cir. 2009).

Petitioner does not want to burden the Court; however; because Petitioner's

 

case is extremely compelling and extraordinary, having Petitioner out-Living
his correct sentencing guidelines, once having the Court correct such illegal
sentencing. Petitioner respectfully requests that the Court proceed with its
rulings in both instances, concerning the conviction and sentencing matter
ASAP, to not further create unnecessary hardship, based on recent Higher Court
favorable rulings. It has been more than (90) days since the Court last closed
the Answer and Reply process; concluding with the Govt's own declining to
address new case laws in favor of Petitioner as well as; declining to defend
its clear violation of the Fed.R. of Procd. pursuant to 18 USC §3664; against
Petitioner and is a violation of Petitioner's 5th Amendment Rights of Due

Process. Period! 6
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WHEREFORE, the Petitioner, C. Tate George, pro se,,hereby respectfully
requests this Honorable Court to GRANT Petitioner's Motion for an immediate
decision pursuant to Supreme Court ruling in (Molina-Martinez) and (Rosales-
Mireles 2018) in favor of Petitioner concerning and including the illegal
sentence enhancements of miscalculation of so-called victim loss amount never
proven by a Jury or by way of the Probation office; thus creating a downward
departure to time-served for Petitioner, while the Court makes its determination
pertaining to the conviction and inéffective assistinace of counsel claims
made by Petitioner pursuant to 18 USC §2255 Habeas Corpus laws. This Motion
is a simple attempt to remind the Court that Petitioner is illegally being
held, based on new Higher and Lower Court Rulings in favor of Petitioner thus
causing relief he is now legally entitled to by Law.

Dated: August 29, 2019 Respéatfu Subprtted ,
é yy,

Fite George, pro e
Fed. No. 63223-0

LSCI Allenwood

PO Box 1000

White Deer, PA 17887
Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 8 of 19 PagelD: 1092

AFFIDAVIT

I HEREBY CERTIFY that the foregoing facts are true and correct to the

best of my knowlege and belief upon pain of perjury_under 28 a
ea
/ Tate George Prose /

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the following motion for default judgment
was mailed this Ly \ day of September 2018 by First-Class Mail, postage

prepaid to: Zack Intrader AUSA, Office of the US Attorney, 970 Broad Street,
Room 700, Newardk NJ 07102. .

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ATTACHMENTS (A - F)
Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 10 of 19 PagelD: 1094

TRULINCS 63223050 - GEORGE, C TATE - Unit: ALF-B-B

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FROM:

TO: 63223050

SUBJECT: The government's response
DATE: 05/16/2019 03:36:02 PM

Short enough to copy and paste:

RESPONSE TO MOTION TO AMEND PETITIONER'S VACATE, SET ASIDE OR CORRECT SENTENCE PURSUANT TO 28
U.S.C. § 2255

Petitioner C. Tate George has filed yet another motion in yet another forum in yet another baseless attempt to vacate his
convictions for wire fraud. This time, the motion has been construed as a motion to amend Petitioner's original § 2255 petition.
(The instant motion was construed as such by this Court after Petitioner attempted to file a separate petition pursuant to 28
U.S.C. § 2241, see Dkt. No. 52), Petitioner's latest salvo should be rejected by this Court.

in his initial petition, Petitioner simply repackaged the original claims he made on direct appeal into "ineffective assistance"
claims, which were already litigated (and rejected) by the Court of Appeals. Now, Petitioner has yet again repackaged the same
complaints into another, seemingly different, vessel: a socalled Guidelines calculation error and a complaint about the Pre-
Sentence Report. Undergirding these claims, though, are the exact same complaints that he put forth both on direct appeal and
in his original 2255 Petition, regarding the fulsomeness of his attorney's preparation and a so-called “forensic business report.”
Because Petitioner is not actually making any new claims, the Government will respectfully rely on its initial Response to
Petitioner's Petition. If the Court Case 3:17-cv-02641-AET Document 60 Filed 05/15/19 Page 1 of 3 PagelD: 1067 2 wishes
for additional briefing by the Government, the Government will of course be happy to provide it. At long last, the court system
should be finished with this matter more than seven years in the making. This Court should deny Petitioner's § 2255 motion
without a hearing. :

ATTACHMENT A
Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 11 of 19 PagelD: 1095

IN THE UNITED STATES DISTRICT COURT
FOR
THE THIRD CIRCUIT

UNITED STATES OF AMERTCA *
Vv. *
Docket: 2641 (MLC)
Crim. No.: 3:7?2-cr~204-01 (MLC)
C, TATE GEORGE *
Petitioner
- * *

PETITIONER'S REQUEST FOR LEAVE TO FILE
SUPPLEMENTAL BRIEF BASED ON RECENT
THIRD CIRCUIT CASE PRECEDENT

 

NOW COMES the Petitioner, C. Pate George, pro se, and
requests leave to file a supplemental brief based on recent Third
Circuit case precedent. This supplemental briefi is submitted in
support of his pending habeas petition pursuant to 28 U.S.C. Section
2255, and states as follows:

On August 1, 2017, the Third Circuit Court of Appeals

decided the case of Haskell v. Superintendent Greene SCI, 2017 BL

 

266640, .-3d Cir., No, 15-3427 (3d. Cir. 2017). In Haskell, the court
ruied that prosecutors whe knowingly present perjured witness
testimony or fail to correct it violate a defendant's right to a
fair trial. In writing for the court, Circuit Judge Thomas L. Ambro
asked the following question: "at root is how can a defendant
possibly enjoy his right to a fair trial when “the state is willing
to present (or fails to correct} lies told by its own witness and
then vouches for and relies on that witness's supposed honesty" in

its closing argument? He answered that question by quoting the U.S.

-1- ATTACHMENT B
Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 12 of 19 PagelD: 1096

Supreme Court in Napue v, Tilinois. He is quoted as stating further
that "A lie is a lie, no matter what its subject, and, if it is any
way relevant to the case, the district attorney has the responsibility
and duty to correct what he knows to be false and elicit the truth."
| In Haskell, the defendant was found guilty of a murder that
stemmed from a bar shooting; a government witness testified against
the defendant and claimed she didn't expect any benefit from her
testimony. However, the prosecutor knew she was getting favorable
treatment in her own criminal case in exchange for her testimony.
The prosecutor not only failed to correct her, but restated her claim
that she wasn't receiving a benefit, Doing so violated the defendant's
right to a fair trial, The conviction was VACATED.

In the case at bar, there is irrefutable evidence that
the prosecutor suborned perjury of two of its star witnesses, Ralph
Ramsey and Dwayne Taylor, who both testified that neither had signed
a "release" of invested funds authorized Petitioner to disburse said
funds to befendant Ejekam relating to the Illinois Project. Evidence
of this subornation of perjury consists of the actual signed "release"

which was inadvertently delivered by the government to Petitioner,

and presented to Petitioner as “pre-trial” discovery material during
the actual trial proceeding! Thus, the government had prior knowledge
of the fact that both Ramsey and Taylor perjured themselvés during
their trial testimonies, As star witnesses, their perjured testimony
was "material" to the case and had a prejudicial influence on the
jury constituting "false evidence". Thus, the éredibility of the
government's entire case was compromised and Betitioner's right to

a fair trial was violated. Period.

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Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 13 of 19 PagelD: 1097

Evidence of the actual "release" signed by Ralph Ramsey
(on behalf of both himself and Dwayne Taylor) is attached to the
Petitioner's habeas petition under 28 U.S.C. Section 2255 now pending
before this Honorable Court as Exhibit "E" thereof.
WHEREFORE, the Petitioner, C. Tate George, pro se, requests
that the recent decision in Haskell be acknowledged as applicable

case authority in support to his pending Section 2255 petition,

Dated: Ae qth AN 7

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ul submitted,

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Atel Fee
. Tate George, pro se
ed. No. 63223-050
FCL Fort Dix
Box 20060 ,
Joint Base MDL, NJ 08640-5433

   

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing Request for
Leave to file this supplemental brief was mailed on this G day of
August, 2017, by first-class mail, postage prepaid to:

Bruce P, Keller, AUSA .
Office of the U.S. Attorney

970 Broad Street
Rm. 700
Newark, NJ 07102

Tate George~{-fro se
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___jRequestt for Advance Authorization for Investigative,
“Expert or Other Services

TO: Chief Judge (or Delegate) ( Hoon, ae Me kee. — SP
United States Court of Appeals For the Circuit oe
DATE: p-e iS ™ : | |
FROM: A lite GE ONGE
’ SUBJECT: Advanca Authorization for Investigative, Expert, or Other Services

It is requested that advance authorization be granted to obtain services in an
amount In excess of the maximum allowed under the provisions of subsection (@)(3) of
the Criminal Justice Act, 18 U.S.C. § 30064, [or, for capital cases commenced, and

appellants procesdings In which an appeal ls perfectert. in or after April 24, 1996,

under 18 U.S.C. § 3599{¢),] as follows;
Case Name & Designation (54 ¥. C. Bade GEokee

’ Name of Expert or Investigator or Service Provider Josep hi | B . Ja fHe8o0¢
Address OS. “Jedfeesons lomo UMigpanl¥, ALT. 07986
Type of Servica Aeron Lap Seauices

Reasons for Application

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the Tange

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Estimated Compensation and.Expenses (Capital Case) $

‘ATTACHMENT CG

‘ ‘ Last revised Auguat 2, 2070

( Appaudic 1)

 
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Guide io  dadiotary Polley, Vol, TA, Appx. 3A . Paga 2

Estimated Compensation and Expenses of All investigate, Expert, and Other Services
(Capital Case} $

 

| certify that the estimated compensation in excess of the maximum set forth in

18 U.S.C. § S0D6A(e)(3) far, if applicable, the estimated compensation and expenses In
excess of the maximum set forth in 18 U.S.C. § 3599(a),] appears necessary to provide
fair compensation for services of an unusual character or duration and therefore
racommend approval! of this advance authorization in the amountof -

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United States District Judae 7 Date

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Advance authorization is hereby approved i in the amount of ‘

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‘Chief dudge, United States Court of Appeals Date
(or Delegate)
Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 16 of 19 PagelD: 1100

Honorable Mary L. Cooper

United States District Judge

Clarkson S$. Fisher Building & U.S. Courthouse
402 East State Street Room 7W

Trenton, NF 08608

May 25, 2017
Re: USA v. C. TATE GEORGE 3:12-cr-204 (MLC)
Dear Judge Cooper:

In support of Mr. C. Tate George’s 2255 application to the Federal District Court and Honorable
Mary L. Cooper, please allow this letter to serve as wrilten representation and proof that I was
never contacted pre-trial, during trial, or post-trial in the above-mentioned case by defense
attorney David Schafer, who represented Mr. George in this matter.

It has come to my attention that I was wrongly admitted as a loss victim at Mr. George’s
sentencing. Please allow this certified letter to serve as notice and proof to the court that Mr.
George, nor The George Group, does not personally or otherwise owe me any monetary amount,
specifically $364,000. Any and all investments were at risk investments, as T am a partner with
Mr, George in several companies and ongoing real estate projects. 1 am aware of each real estate
project and all civil litigations pending that have yet to be resolved.

May the court accept this sworn stalement of mine as further acknowledgment that Mr. George
and I are still working together and are in good standing as business partners. Lastly, I have not
been defrauded of any of my investments.

I am prepared to testify to these facts in court to clear up this misunderstanding and/or
misrepresentation to the court presented by the prosecutors at sentencing regarding my
investment/involvement with Mr. George and our partnership.

If you need to contact me regarding this statement, you can do so on my cell phone at (407) 259-
8982 or my email at atkins. chucky407@gmail.com.

Respectfully Yours,
Kenneth Chucky Atkins
ATTACHMENT D
STATE OF Flor da , COUNTY OF Drange » $8.2 Apel pe
On this day, personally appeared before me | bo

Kenneth ayo Art King de

to me known to be the person(s) described in and who executed the within and foregoing
instrument, and acknowledged that he/she signed the same as his/her voluntary act and deed, for

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Case 3:17-cv-02641-AET Document 64 Filed 08/29/19 Page 17 of 19 PagelD: 1101

the uses and purposes therein mentioned.

Witness my hand and official seal hereto affixed

this 2S day of MU Ay ,AOIG |

]

 

 

Notarybiio in and for at of +l oy ok ar

My commission expires 3 | S aoa.

5 es a% Notary Pubste State of Florida
: ~ Maria A Lloret
My Commission GG 049352

ye ne Expites 03/03/2024

 

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From the of H ine

September Q 6 , 2011

We, Howard and Elaine Trachtenberg In 2008 we wired or given in
person Tate George and his company The George Group LLC
around $350,000 for projects we were looking to secure and for a
loan.

We, Howard and Elaine Trachtenberg have invested more then
$620,000 USD with Tate George and the George Group LI. since
$2005 to tha current date.

Tate has kept me and my family up to date on all his dealings with
money, how the funds were being spent and he had full rights to use
the money as he wanted for projects, personal overhead and for his
company use as he saw fit. We have no complaints to what he has
done with our money. VWe are in good standing and we look forward
to future deals tagether.

Howard and Elaine Trachtenberg

 

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ATTACHMENT E

 

 

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U.S. Department of Justice

United States Attorney |
District of New Jerse ,

970 Broad Street, 7 Floor 973-645-2700
Newark, New Jersey O71 a2

   
  

April 30, 2018

Honorable Anne E. Thompson
United States District Judge
Clarkson S. Fisher U.S. Courthouse

 

Trenton, NJ 08606

 

Re: Tate Georpe v. United States, 17-2641 (AET} i 2, 0

Dear Judge Thompson:

Please accept this letter to respectfully request additional time to respond:

to Petitioner’s § 2255 petition on this matter.

The undersigned is scheduled to be begin a trial before Your Honor on May
15, 2018. The Government would therefore respectfully request a response date
of July 31, 2018, to respond to the petition. .

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R ECE IVE D Respectfully subraitted,
: _ CRAIG CARPENITO
APR 30 2018 ‘United States Attorney
AT 8:80 “ S/ Zach Intrater
WILLIAM T WALSH By: Zach Intrater
CLERK

Assistant U.S, Attorney

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ATTACHMENT F

 
